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                                   UNITED STATES DISTRICT COURT

                                     DISTRICT OF MASSACHUSETTS



   PAULJONES

   Plaintiff                                       Civil Action No. 1:19-cv-11076

                  V.                                                                          ,--
                                                                                    1::--, .-
                                                                                    ..- ,· ')
                                                                                          I   ,     .C:>



   DOLAN CONNLY P .C                                                                                         l
   JAMES W . DOLAN                                                                    )       -·           ,(:,   -.-,
                                                                                                    -o     - ·, r-
   BARBARAD . CONNLY                                                                                       --- rn
   KATHLEEN M . ALLEN                                                                                             a
   DAYID A. MARSOCCI
   CINDY SILVA
   BANK OF NEW YORK MELLON
   GREGORY A. CONNL Y
   ORLANSP.C
   LINDA ORLANS
   ALISON ORLANS
   JANE DOE, and JOHN DOE,
   SELECT PORTFOLIO SERVICING INC.

   Defendants



                    PLAINTIFFS MOTION TO STRIKE (DISMISS) DOCKET # 6


       1. Now comes the plaintiff to request the court to strike (dismiss) Docket number six (6)

           plaintiffs "Motion to void April 19, 2019 Second Foreclosure" which plaintiff filed on

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   Paul Jones

   Isl Paul Jones

   617-939-5417

   Pj22765@gmail.com
          Case 1:19-cv-11076-FDS Document 17 Filed 06/19/19 Page 2 of 2



572 Park Street

Stoughton, Ma 02072

PJ22765@gmail.com




                                CERTIFICATE OF SERVICE


I hereby certify, under the penalties of perjury, that on June ~f2019 I have made service of a

copy of the attached motion to all defendant in this case by USPS first class mail.



Paul Jones

Isl Paul Jones

617-939-5417

Pj22765 @gmail.com

572 Park Street

Stoughton, Ma 02072
